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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK
_____________________________________________

UNITED STATES OF AMERICA

                                     Plaintiff,

                      v.                                                  5:05-CR-217
                                                                              (FJS)
GREGORY THOMAS

                              Defendant.
_____________________________________________

APPEARANCES                                                OF COUNSEL

OFFICE OF THE UNITED STATES ATTORNEY                       EDWARD BROTON, AUSA.
100 South Clinton Street
Syracuse, New York 13260
Representing the United States


OFFICE OF PAUL G.J. MADISON                                PAUL G.J. MADISON, ESQ.
31 Harper Street
Stamford, New York 12167
Representing the Defendant

SCULLIN, Chief Judge

                                            ORDER

       On December 19, 2005 Paul Madison, Esq. filed a motion to withdraw as attorney for

defendant Gregory Thomas which was scheduled to be heard on December 29, 2005. On

December 29, 2005, defense counsel notified the Court that he would be unable to attend,

therefore a telephone conference was held. At that time the Court advised defense counsel that

he would remain the attorney of record until the motion could formally be addressed at a motion

hearing, with the defendant present, tentatively rescheduled for January 3, 2006. Shortly

thereafter, defense counsel advised the Court that he would be unable to appear on January 3,
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2006. Upon conferring with both parties, it was agreed that the next Court appearance on the

motion would be January 23, 2006. Subsequently, on January 3, 2006, this Court issued a notice

rescheduling attorney Paul Madison’s motion to withdraw as counsel for Gregory Thomas for

January 23, 2006 at 11:30a.m., in Syracuse. On January 23, 2006 the proceeding was held, with

the defendant present, and Mr. Madison did not appear. Accordingly, it is hereby



       ORDERED that Paul G.J. Madison, Esq. show cause at the James M. Hanley United

States Courthouse, in Syracuse, New York on February 7, 2006 at 10:00 a.m., why he should

not be held in contempt for his failure to appear. And further it is

       ORDERED that the Assistant United States Attorney need not be in attendance at this

show cause hearing.


IT IS SO ORDERED.


Dated: January 24, 2006
       Syracuse, New York




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